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                                   STATEMENT OF FACTS

        Your Affiant, Gregory Meek, is a Special Agent with the Federal Bureau of Investigation
(“FBI”). Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As an FBI Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detention, investigation, or prosecution of
violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                           Probable Cause Specific to Elijah Yazdani

       Following the January 6, 2021 breach of the U.S. Capitol Building, the FBI Cincinnati
Field Office received numerous tips concerning individuals known to have participated in the
Capitol riot. On or about March 4, 2021, an individual identified as Witness-1 met with FBI to
provide information that he/she knew about Elijah YAZDANI and his entry into the U.S. Capitol
Building on January 6, 2021.

        Witness-1 and YAZDANI have known each other for years. Upon reviewing a driver’s
license photograph of YAZDANI obtained from the Ohio Law Enforcement Gateway, Witness-1
positively identified YAZDANI as the person he/she knows. According to Witness-1, prior to
January 6, 2021, YAZDANI verbalized his support of former United States President Donald
Trump and his belief that President Trump was “unfairly cheated” out of a second term as U.S.
President. Sometime after January 6, 2021, YAZDANI sent videos from his cellular telephone
utilizing his telephone number              4255. Witness-1 received the videos to his/her cellular
telephone. Witness-1 is familiar with the aforementioned telephone number as being the cellular
telephone number of YAZDANI. According to Witness-1, YAZDANI admitted that he entered
the U.S. Capitol Building on January 6, 2021. Upon entering, YAZDANI utilized his cellular
telephone to capture video footage of the interior of the U.S. Capitol Building. The videos depicted
various statutes inside the building and individuals inside of the Capitol.

        Witness-1 recalled YAZDANI stating that he drove from his residence located in Albany,
Ohio to Washington D.C. Witness-1 knows YAZDANI to drive an older model Pontiac Grand
Am, gray or silver in color. YAZDANI told Witness-1 that he was accompanied to D.C. by his
female siblings. As it relates to what occurred inside of the Capitol, YAZDANI told Witness-1
that he only walked around the Capitol. YAZDANI believes that the violence that occurred inside
of the Capitol was caused by Antifa.

        YAZDANI is believed to have deleted the videos taken on January 6, 2021 from his cellular
telephone. Witness-1 deleted the videos from his/her telephone. In an effort to locate any videos
of YAZDANI inside the U.S. Capitol, your affiant requested a facial recognition investigation be
conducted. The results yielded a positive result. Your affiant compared YAZDANI’s driver’s
license photograph to the images generated by the facial recognition technology. Based upon my
review of the images, I determined that YAZDANI was likely inside of the U.S. Capitol Building.
To further corroborate my belief, I requested video footage that may contain images of YAZDANI
via surveillance cameras from within the U.S. Capitol Building. Your affiant was provided with
video footage of the individual believed to be YAZDANI from the U.S. Capitol police. While
reviewing the video surveillance I observed the person I believe to be YAZDANI wearing a red
“Keep America Great” hat, dark jacket, with what appears to be a dark hoodie sweatshirt
underneath, drab-colored pants, and dark-colored tennis shoes. I also observed YAZDANI in
possession of a cellular telephone.




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       The following are still photographs taken from the CCTV surveillance footage which
capture the individual believed to be YAZDANI inside of Statuary Hall inside of the U.S. Capitol
Building:




                                               Figure 1




                                               3
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                              Figure 2




                              Figure 3




                              4
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                                              Figure 4

        When comparing Figures 1-4 to YAZDANI’s driver’s license photograph, I determined
that the individual in Figures 1-4 are likely Elijah YAZDANI of Albany, Ohio.

       After obtaining the surveillance video footage, I met with Witness-1. I showed Witness-1
additional video stills of YAZDANI from inside the U.S. Capitol (Figures 5-9).




                    Figure 5                                      Figure 6




                                              5
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                     Figure 7                                 Figure 8




                                               Figure 9


        Witness-1 positively identified the individual in Figures 5-9 as YAZDANI.

        Based on the foregoing, your Affiant submits that there is probable cause to believe that
Elijah YAZDANI violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or


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official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.

        For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Elijah YAZDANI violated
40 U.S.C. §§ 5104(e), which make it a crime to willfully and knowingly (D) utter loud, threatening,
or abusive language, or engage in disorderly or disruptive conduct, at any place in the Grounds or
in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of
a session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress; and
(G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Agent Gregory Meek, Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 27th day of April 2021.
                                                                             2021.04.28
                                                                             15:09:34 -04'00'
                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE




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